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WV DOMESTIC VIOLENCE RELATED DEATHS
OCTOBER 1, 2019—SEPTEMBER 30, 2020


WEST VIRGINIA COALITION AGAINST DOMESTIC VIOLENCE




                                                   Thomas Decl., Ex. 2
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        2020 WV DOMESTIC VIOLENCE RELATED DEATHS




An estimated 19 Domestic Violence related deaths
occurred in West Virginia for the period of October 1,
2019 – September 30, 2020.

The worst result of domestic violence is the loss of life. This report
provides information related to domestic violence related homicides,
suicides, and deaths by legal interventions for the period of October 1,
2019 – September 30, 2020.
This brief accounting in no way represents the total number of
domestic violence related deaths in West Virginia and accounts for
adults (18 years or older). Data gathered came from media outlets and
information provided by licensed domestic violence programs.
The risk of lethality increases with several risk factors, including separation
or an attempt to end the relationship, threats to kill, access to weapons,
stalking, forced sex, strangulation during an assault, controlling, possessive,
jealous behavior, and escalation of violence. Children not in common in
the household, substance abuse, and unemployment are also factors in the
risk of lethality.




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This report depicts the type of relationship that the perpetrator had with the
homicide victim(s). The diagram below does not include domestic violence suicides and legal
intervention from law enforcement officers.



                        Perpetrator Relationship to Homicide Victim
 7



 6



 5



 4



 3



 2



 1



 0




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  This report reviews the sex of the perpetrators and victims. Male perpetrators
  were responsible for 16 (100%) domestic violence homicides. The diagrams below
  do not include domestic violence suicides and legal intervention from law enforcement officers.




                Sex of Perpetrators                            Sex of Victims

  18
                                                       16

  16
                                                       14

  14
                                                       12

  12
                                                       10
  10
                                                        8
   8
                                                        6
   6

                                                        4
   4

                                                        2
   2


   0                                                    0
       Female    Male                                       Female   Male
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Firearm deaths (12) accounted for
75% of all of the domestic violence
homicides. The diagram below does not
include domestic violence suicides and legal
intervention from law enforcement officers.    Means of Death by Suicide
                                               Of the 19 domestic violence related
      Means of Death-                          deaths, 3 were perpetrator suicides.
        Homicide

               Arson    1                      Means of Death by Legal
             Stabbing   1                      Intervention
                                               Of the 19 domestic violence related
Strangulation and Axe   1
                                               deaths, zero perpetrators died by law
             Firearm               12          enforcement officer intervention.
              Beaten    1




        Age of Victim
        46 years old was the average
        age of victims.




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      Domestic Violence Related Deaths by County
Of the 55 counties in West Virginia, 14 counties reported domestic violence
related deaths.


                Domestic Violence Deaths by County (per incident)
3.5



  3



2.5



  2



1.5



  1



0.5



  0




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 Fayette County – Hayden Dixon killed his girlfriend, Trinity McCallister, by bludgeoning her with an
    axe and strangling her to death.
 Raleigh County - Ronnie Cochran shot and killed his son, Mathew Cochran.
 Raleigh County - Samuel Taylor shot and killed himself after shooting his girlfriend. His girlfriend
    survived the shooting.
 McDowell County - Douglas Hawkins shot and killed his mother, Patty Hawkins.
 Monongalia County - Donald Davis shot and killed his step-daughter, Tamatha Pillo.
 Kanawha County - Unnamed son-in-law shot and killed his father-in-law Jacob Smith.
 Wood County - William Nutter and shot and killed his brother, Charles Cottle.
 Mingo County - David Manns shot and killed his grandfather, Homer Manns.
 Taylor County - Nicholas Padron beat his girlfriend's father, Michael Blackburn, to death.
 Raleigh County - Joseph Davis killed his roommate, Margaret Ann Lilly, then set the house on fire.
 Hardy County - Quentin Strawerman, shot and killed his pregnant girlfriend, Ashely McDonald then
    shot and killed himself.
 Nicholas County - David Allen Stover, Jr. shot and killed his father, David Allen Stover, Sr.
 Logan County - Joshua Gwinn stabbed his girlfriend's father, Roger Endicott, to death.
 Jefferson County - Jeremy Newkirk shot and kill John Wilson. John Wilson was helping the ex-
    girlfriend of Jeremy Newkirk move out of their residence.
 Hancock County - A juvenile family member shot and killed Melissa Rowland. The juvenile family
    member also shot and killed Madison Crowe, the daughter of Melissa.
 Roane County - Daniel Payne shot and killed himself during a domestic violence incident.
 Wayne County - Gary Dameron shot and killed his ex-girl friend, Keilee Sparks.
 Monongalia County - Travis Anderson shot and killed his fiancé, Jane Sharak.




                                                                          Thomas Decl., Ex. 2
